          Case 2:08-cr-00449-WBS Document 286 Filed 11/19/14 Page 1 of 4


 1   JAMES R. GREINER, ESQ.
 2   CALIFORNIA STATE BAR NUMBER 123357
     LAW OFFICES OF JAMES R. GREINER
 3
     1024 IRON POINT ROAD
 4   FOLSOM, CALIFORNIA 95630
     TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
 6   E mail: jaygreiner@midtown.net
 7
     ATTORNEY FOR DEFENDANT
 8   TIEN THE LE
 9

10            IN THE UNITED STATES DISTRICT COURT FOR THE
11

12                     EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA, )            CR-S-08-449-03 WBS
15                             )
16
         PLAINTIFF,            )          STIPULATION AND AGREEMENT
                               )          OF THE PARTIES TO CONTINUE
17                v.           )          BOTH SENTENCING AND THE
18                             )          DEFENSE MOTIONS FOR A NEW
     TIEN THE LE,              )          TRIAL AND JUDGMENT OF
19
                               )          ACQUITAL TO MONDAY,
20                             )          DECEMBER 8, 2014 AND
                  DEFENDANT.   )          PROPOSED ORDER
21
     __________________________)
22

23

24
         The parties to this litigation, the United States
25
     of America, represented by Assistant United States
26
     Attorneys Jason Hitt and Jill Thomas, and the
27

28

            STIPULATION TO CONTINUE BOTH POST-TRIAL MOTIONS AND SENTENCING TO

                MONDAY, DECEMBER 8, 2014, DEFENDANT TIEN THE LE - 1
          Case 2:08-cr-00449-WBS Document 286 Filed 11/19/14 Page 2 of 4


 1
     defendant, Tien The Le, James R. Greiner, hereby agree
 2
     and stipulate to the following:
 3
                    1- By previous order, this matter was set
 4
     for motions hearing and sentencing on Monday, November
 5
     24, 2014 (See Docket Entry # 284);
 6
                    2. The defense has filed two post-trial
 7
     motions, the first is a motion to vacate the jury
 8
     verdict and for a judgment of acquittal (See Docket
 9

10
     Entry # 215) and the second is a motion for a new trial

11
     (See Docket entry # 216). Both motions are critical and

12
     contain potentially complex issues which the parties

13   agree require the additional time for legal research
14   and briefing. The government has responded to both
15   motions on June 10, 2014. (See Docket # 274)
16                  3. The defense filed a sentencing
17   memorandum on August 12, 2013 (See Docket # 246), a
18   supplemental sentencing memorandum on August 7, 2014
19   (See Docket #277) and a second supplemental sentencing
20   memorandum on September 30, 2014 (See Docket # 280).
21                  4. The government needs time to file any
22   opposition to the defense sentencing memorandums and
23   then the defense will file its reply.
24                  5. By this Stipulation, the parties
25   collectively now move to continue the motion hearing
26   and sentencing until Monday, December 8, 2014. The
27

28

            STIPULATION TO CONTINUE BOTH POST-TRIAL MOTIONS AND SENTENCING TO

                MONDAY, DECEMBER 8, 2014, DEFENDANT TIEN THE LE - 2
          Case 2:08-cr-00449-WBS Document 286 Filed 11/19/14 Page 3 of 4


 1
     parties agree there is no legal need to exclude time
 2
     pursuant to the Speedy Trial Act.
 3

 4
         IT IS SO AGREED TO AND STIPULATED TO BY THE
 5
     PARTIES.
 6

 7                  Each attorney has granted James R. Greiner
 8
     full authority to sign for each individual attorney.
 9

10       Respectfully submitted:
11
                          BENJAMIN B. WAGNER
12                        UNITED STATES ATTORNEY
13
     DATED: 11-19-14      /s/ JASON HITT
14                            JILL THOMAS
15
                          _____________________________________
                          JASON HITT
16                        JILL THOMAS
17                        ASSISTANT UNITED STATES ATTORNEYS
                          ATTORNEYS FOR THE PLAINTIFF
18

19   DATED: 11-19-14      /s/ James R. Greiner
20
                          _______________________________
21                        James R. Greiner
22
                          Attorney for Defendant
                          TIEN THE LE
23

24

25

26

27                                    ORDER
28

            STIPULATION TO CONTINUE BOTH POST-TRIAL MOTIONS AND SENTENCING TO

                MONDAY, DECEMBER 8, 2014, DEFENDANT TIEN THE LE - 3
          Case 2:08-cr-00449-WBS Document 286 Filed 11/19/14 Page 4 of 4


 1                    The sentencing hearing is continued to
 2
     December 8, 2014, at 9:30 a.m., as requested by the
 3

 4   parties.     However, the hearing on the motions remains
 5
     set for November 24, 2014 at 9:30 a.m., as previously
 6

 7
     ordered.

 8                    IT IS SO ORDERED.
 9
     Dated:    November 19, 2014
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

              STIPULATION TO CONTINUE BOTH POST-TRIAL MOTIONS AND SENTENCING TO

                 MONDAY, DECEMBER 8, 2014, DEFENDANT TIEN THE LE - 4
